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   Michael Hastings, 33, Winner of
   Polk Award, Dies
   By Margalit Fox

   June 19, 2013


   Michael Hastings, the award-winning freelance reporter who died on Tuesday at 33, was known for an
   intrepid journalism that took him to war zones in Afghanistan and Iraq and, most famously, brought
   down a United States Army general.

   His death, in a car crash in Los Angeles at about 4:30 a.m., was conﬁrmed by his wife, Elise Jordan. Mr.
   Hastings was believed to have been alone in the car, which struck a tree at high speed, according to the
   Los Angeles County Coroner’s ofﬁce. He lived in New York City.

   In 2010, Mr. Hastings won a George Polk Award, presented by Long Island University for reporting in the
   public interest.

   The award honored his Rolling Stone magazine cover story, “The Runaway General,” published that
   June. In it, Mr. Hastings proﬁled Gen. Stanley A. McChrystal, then the top commander of United States
   forces in Afghanistan.

   The article quoted the general and members of his staff making disparaging comments about members
   of the Obama administration, including Vice President Joseph R. Biden, with respect to their handling of
   the Afghan campaign. Within days of its publication, President Obama met with General McChrystal in
   the Oval Ofﬁce before ﬁring him, ending his 34-year military career.

   An inquiry into the article by the Defense Department inspector general the next year found
   “insufﬁcient” evidence of wrongdoing by the general, his military aides and civilian advisers.




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                    Michael Hastings.

                    Blue Rider Press, via Reuters




   The inspector general’s report also questioned the accuracy of some aspects of the article, which was
   repeatedly defended by Mr. Hastings and Rolling Stone.

   Mr. Hastings was a contributing editor at Rolling Stone at his death and had also written for GQ and
   Newsweek magazines.

   Michael Mahon Hastings was born on Jan. 28, 1980, in Malone, N.Y. After attending Connecticut College,
   he earned a bachelor’s degree in journalism from New York University.

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  As a young correspondent for Newsweek, Mr. Hastings covered the Iraq war. His ﬁancée, Andrea
  Parhamovich, followed him there, taking a job with a nongovernmental organization. She was killed in
  2007 when her car was ambushed by Sunni insurgents.

  Mr. Hastings’s memoir of the experience, “I Lost My Love in Baghdad: A Modern War Story,” was
  published in 2008.

  Besides his wife, Mr. Hastings is survived by his parents, Brent and Molly Hastings; two brothers, Jeff
  and Jon; and his grandmother, Ruth Mahon.

  His other books are “The Operators: The Wild and Terrifying Inside Story of America’s War in
  Afghanistan” published last year, and “Panic 2012: The Sublime and Terrifying Inside Story of Obama’s
  Final Campaign,” published in January.

  Correction: June 19, 2013
  An earlier version of this obituary, using information from the family, misstated the name of Mr. Hastings’s
  surviving grandmother. She is Ruth Mahon, not Ruth Mahon Hastings.

  Daniel E. Slotnik contributed reporting.

  A version of this article appears in print on June 20, 2013, Section A, Page 19 of the New York edition with the headline: Michael Hastings, 33, Winner of Polk Award




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